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                   IN THE UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF MARYLAND

                                          :
UNITED STATES OF AMERICA
                                          :

     v.                                   :    Criminal No. DKC 20-38

                                          :
JEROAM EDWIN NELSON, JR., et al.
                                          :

                             MEMORANDUM OPINION

     This memorandum will resolve some of the pending motions

concerning Mr. Coleman-Fuller.

     A.     Mr. Coleman-Fuller’s and the                  government’s       motions
            related to body armor evidence

     Mr. Coleman-Fuller filed a motion in limine to preclude the

government from introducing his prior assault conviction as a

crime-of-violence predicate to the possession of body armor charge

against him (Count Fourteen).             (ECF No. 488).              The government

responded to Mr. Coleman-Fuller’s motion by filing its own motion

to dismiss Count Fourteen, without prejudice.                  (ECF No. 498).      The

government’s      motion   will    be   granted,       Count    Fourteen    will    be

dismissed, and Mr. Coleman-Fuller’s motion is denied as moot.

     Mr. Coleman-Fuller filed a subsequent motion in limine to

preclude the government from introducing at trial any evidence

regarding   the    body    armor   that       was    seized    from   a   Ford   Crown

Victoria, which was searched pursuant to a search warrant on

September 10, 2019.        (ECF No. 500).           He argues that this evidence
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is not relevant to the other charges against him and that even if

it were, its probative value is outweighed by the danger of

prejudice its admission could cause.          The government has not filed

a response to this motion, but it addresses the relevance of the

body armor evidence in its own motion.               (ECF No. 498).       The

government represents that it has evidence that the Ford Crown

Victoria belonged to Mr. Coleman-Fuller and that the body armor

was found in the car along with weapons, ammunition, and controlled

substances, among other things.1           It argues that body armor is a

“tool of the drug trade.”

     It is well established that “any evidence which tends to make

the existence of a fact of consequence to an issue in the case

‘more probable or less probable’ than without the evidence is

relevant and therefore, as a general proposition, admissible.”

United States v. Queen, 132 F.3d 991, 994 (4th Cir. 1997) (quoting

Fed.R.Evid. 401-02).        Evidence that body armor was found, along

with weapons and drugs, in a car that purportedly belonged to Mr.




     1 The question of whether the Ford Crown Victoria belongs to
Mr. Coleman-Fuller is the subject of another of Mr. Coleman-
Fuller’s motions in limine, discussed below. (ECF No. 510). In
that motion, Mr. Coleman-Fuller represents that the Ford Crown
Victoria was located at 30 East Franklin Street, where law
enforcement executed a search warrant on September 9, 2019, and
that Mr. Coleman-Fuller was inside the apartment at the time of
the search, along with three other individuals. (ECF No. 510).
The government represents that it intends to produce evidence that
the keys to the Ford Crown Victoria were found in Mr. Coleman-
Fuller’s pants pocket. (ECF No. 511).
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Coleman-Fuller       is    relevant    to   Mr.   Coleman-Fuller’s           firearm

possession charges, see United States v. Lee, 612 F.3d 170, 185

(3d Cir. 2010) (noting that it is “not unfairly prejudicial to

suggest that bullet-proof vests and guns often accompany one

another”), and it is also relevant to the conspiracy to distribute

and possession with intent to distribute charges, see United States

v. Garcia-Lagunas, 835 F.3d 479, 489 (4th Cir. 2016) (describing

as “circumstantial physical evidence” of the defendant’s guilt of

drug conspiracy a bulletproof vest, which a witness detective

testified was a “tool of the drug trade”); United States v.

Pettiford, 337 Fed.Appx. 352, 355 (4th Cir. 2009) (describing as

“circumstantial evidence” of the defendant’s guilt of possession

with intent to distribute a controlled substance his admission

that he traded drugs for body armor); see also United States v.

Young, 847 F.3d 328, 356 (6th Cir. 2017) (upholding the district

court’s admission of firearms, ammunition, and bullet-proof vests

as “relevant evidence in a drug conspiracy trial”).

     The   rules     of    evidence   allow    district       courts   to    exclude

relevant evidence when “its probative value is ‘substantially

outweighed’     by   the   potential    for    undue   prejudice,      confusion,

delay[,]   or    redundancy.”         Queen,   132     F.3d    at   994     (quoting

Fed.R.Evid.     403).      “Any   prejudicial     effect      of    this    evidence

require[s] exclusion only in those instances where the trial judge

believes that there is a genuine risk that the emotions of the

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jury will be excited to irrational behavior, and that this risk is

disproportionate to the probative value of the offered evidence.”

United States v. Powers, 59 F.3d 1460, 1468 (4th                     Cir. 1995)

(alteration     in   original)   (internal     quotation     marks    omitted).

Because the body armor is relevant to all the charges against Mr.

Coleman-Fuller, and because there is no reason to predict that the

evidence will create an emotional response in the jury—which will

likely also be presented with firearm and drug evidence—such that

the jury will behave irrationally, the probative value of the

evidence   is    not   substantially       outweighed   by   any     danger   of

prejudice.      The motion to preclude introduction of this evidence

is denied.

     B.      Mr. Coleman-Fuller’s motion in limine to preclude the
             government from eliciting testimony regarding car keys

     Mr. Coleman-Fuller filed a motion in limine to preclude the

government from eliciting testimony regarding any automobile keys

that were located during the search of 30 East Franklin Street,

Apartment 3, Hagerstown, Maryland on September 9, 2019.                (ECF No.

510). He argues that because the search inventory report indicates

that no car keys were seized during the search and no photographs

were taken of car keys during the search, the risk of undue

prejudice from any testimony regarding any car keys that were

observed during the search would outweigh any probative value of

that testimony.


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       The   government    opposes   this   motion,    explaining      that   the

report regarding the search describes the recovery of two sets of

car keys in Mr. Coleman-Fuller’s pants pocket.             (ECF No. 511, 511-

1).     The report, attached as an exhibit to the government’s

opposition, describes one of the sets of keys as being a “suspected

Ford Crown Victor[ia] key,” noting that “Ford Crown Victoria motor

vehicles are commonly used in law enforcement and have a common

key pattern.”     (ECF No. 511-1 at 8).        The report also states that

the other set of keys was “used and identified to belong to the

2019   Nissan    Altima”    parked   behind    the    apartment,    which     was

determined to be a rental vehicle.            (Id. at 10).     The government

represents that while the report does not state it explicitly, the

investigators also used the Ford Crown Victoria key to access the

vehicle.     The government explains that “[i]t is not typical to log

car keys into evidence, particularly where a key may be the only

key capable of operating a vehicle, or where the vehicle belongs

to a third party (like the Nissan Altima here).”

       Mr.   Coleman-Fuller    has   not    cited    any   authority   for    the

proposition that car keys must be seized and logged into evidence

in order for testimony about them to be admitted at trial, other

than Federal Rule of Evidence 403.          Mr. Coleman-Fuller also seems

to be mistaken in asserting in his motion that there was “no

evidence provided in discovery that indicates that law enforcement

took any investigatory steps to determine to which if any vehicles

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the keys could be used to access.”        Testimony regarding the keys—

the fact that they were found in Mr. Coleman-Fuller’s pants and

were   identified   as   belonging   to   the   cars   parked   behind   the

apartment—is clearly probative of the fact that the cars, and the

items found inside the cars, belonged to Mr. Coleman-Fuller.             This

motion is denied.



Date: November 2, 2022                          /s/
                                          DEBORAH K. CHASANOW
                                          United States District Judge




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